Case 2:21-cv-05237-SVW-PD Document 24 Filed 11/19/21 Page 1 of 2 Page ID #:160



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11                            UNITED STATES DISTRICT COURT
12             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
13
     FIRE INSURANCE EXCHANGE, a                    CASE NO. 2:21-cv-05237-SVW (PDx)
14
     California Interinsurance Exchange,
15                                                 ORDER APPROVING STIPULATION
                                 Plaintiff,        TO REMAND ACTION TO SANTA
16                                                 BARBARA COUNTY SUPERIOR
17                 vs.                             COURT
18
   EMERSON ELECTRIC CO., a                         [On Removal from the Superior Court of
19 Missouri corporation, individually and          the State of California for the County of
                                                   Santa Barbara Case No. 21CV02202]
20 dba INSINKERATOR; and DOES 1
   through 10, Inclusive,
21                                                 State Complaint Filed: 6/3/21
                           Defendants.             Removal Date: 6/28/21
22
23
24                                            ORDER
25             On October 22, 2021, the Parties to the above-referenced action filed a
26 Stipulation to Remand Action to Santa Barbara County Superior Court
27 (“Stipulation”). Having reviewed the Stipulation and good cause appearing
28 therefore, the Court hereby ORDERS AS FOLLOWS:

     {00381519 }                                  1                    2:21-cv-05237-SVW-PD
       ORDER APPROVING STIPULATION TO REMAND ACTION TO SANTA BARBARA COUNTY SUPERIOR
                                           COURT
Case 2:21-cv-05237-SVW-PD Document 24 Filed 11/19/21 Page 2 of 2 Page ID #:161



 1             1.   The Parties’ Stipulation is approved.
 2             2.   Central District of California Case 2:21-cv-05237-SVW-PD is hereby
 3                  remanded to the Superior Court of the State of California, County of
 4                  Santa Barbara, Case No. 21CV02202 for all further proceedings.
 5             3.   The hearing for Plaintiff’s Motion to Remand currently set for November
 6                  22, 2021 is hereby vacated.
 7             4.   The Parties shall each bear their own attorneys’ fees and costs with
 8                  respect to the removal and subsequent remand of the Action pursuant to
 9                  this Stipulation and this Order.
10             IT IS SO ORDERED.
11
     DATED: November 19, 2021
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14                                                      Hon. Stephen V. Wilson
15                                                      United States District Judge
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     {00381519 }                                  2                  2:21-cv-05237-SVW-PD
       ORDER APPROVING STIPULATION TO REMAND ACTION TO SANTA BARBARA COUNTY SUPERIOR
                                           COURT
